
*1028OPINION.
Love :
If the issue here involved were one of first impression, we would be sadly perplexed in arriving at a conclusion. However, as the situation now exists, we believe the Supreme Court has settled the issue. The case of Russell v. United States, 278 U. S. 181, was *1029a case involving the identical issue here involved. It was originally tried in the District Court, where a judgment was rendered against the Government. The case was appealed by the Government to the Circuit Court of Appeals for the Fifth Circuit, where the judgment of the lower court was reversed. The case then went to the Supreme Court, where the decision of the Circuit Court was reversed. We believe that the Russell case controls the issue in the instant case, and therefore hold that limitation has barred the collection of the tax here in question.

Judgment will be entered, for the petitioner.

